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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DEMETRIC RULE,                             )
                                           )                    Case No.
                                           )
                      Plaintiff,           )                    JUDGE
                                           )
       v.                                  )                    Magistrate
                                           )
The CITY OF CHICAGO Illinois, a municipal  )                    Jury Trial Demanded
corporation, Chicago Police Officers MARCO )
VASQUEZ (#19384), CHRISTIAN HERRERA        )
(#12602), and JOSEPH MONTESDEOCA (#2247), )
                                           )
                      Defendants.          )

                       PLAINTIFF DEMETRIC RULE’S COMPLAINT

        NOW COMES Plaintiff, DEMETRIC RULE (hereinafter referred to as “Plaintiff”), by and

through his attorney, JULIAN JOHNSON, THE LAW OFFICE OF JULIAN JOHNSON, LLC,

for Plaintiff’s Complaint and Jury Demand against Defendant Chicago Police Officers MARCO

VASQUEZ, CHRISTIAN HERRERA, JOSEPH MONTESDEOCA, and the CITY OF

CHICAGO, Illinois, a municipal corporation, states as follows:

                                        JURISDICTION & VENUE

    1. This action is brought pursuant to 42 U.S.C. §1983 to redress the deprivation under color of

law of Plaintiff’s rights as secured by the United States Constitution.

    2. This Court has jurisdiction of the action pursuant to 28 U.S.C. §1331 and §1367.

    3. Venue is proper under 28 U.S.C. §1391(b). The events giving rise to the claims asserted in

this Complaint occurred within this district.




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                                                PARTIES

    4. Plaintiff, DEMETRIC RULE, is a resident of Chicago, Illinois.

    5. At all relevant times Defendants VASQUEZ, HERRERA, and MONTESDEOCA

(“Defendant Officers”) were Chicago Police Officers, employed by Defendant CITY OF

CHICAGO, acting under color of law and within the course and scope of their employment.

    6. Defendant CITY OF CHICAGO is a municipal corporation, duly incorporated under the

laws of the State of Illinois, and at the time of the incident, was the employer and principal of

Defendants MONTESDEOCA, HERRERA and VASQUEZ. Should Plaintiff prevail on his claims,

Defendant CITY OF CHICAGO must indemnify Defendants MONTESDEOCA, VASQUEZ and

HERRERA on Plaintiff’s claims pursuant to 735 ILCS 10/9-102.

                                                  FACTS

    7. On January 21, 2021, Plaintiff was driving his vehicle in the 9300 block of South Ashland in

Chicago.

    8. Defendants VASQUEZ and HERRERA initiated a traffic stop on Plaintiff’s vehicle.

    9. Plaintiff had committed no traffic violation nor broken any law at the time Defendants

VASQUEZ and HERRERA stopped Plaintiff.

    10. Upon seeing police lights behind him, Plaintiff cooperated and immediately pulled his

vehicle to the side of the road.

    11. Defendants VASQUEZ and HERRERA approached Plaintiff’s vehicle and ordered Plaintiff

to roll his windows down.

    12. Plaintiff complied and rolled his windows down.

    13. When Plaintiff complained to Defendants VASQUEZ and HERRERA about the unlawful

stop, Defendant VASQUEZ ordered Plaintiff out of the vehicle.

    14. Plaintiff asked why he was being asked to step out of his vehicle.



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    15. Defendants VASQUEZ and HERRERA were unable to provide Plaintiff with a lawful basis

for him being asked to exit his vehicle.

    16. Plaintiff exited his vehicle and was immediately handcuffed and seized by Defendants

VASQUEZ and HERRERA.

    17. With no reasonable belief that Plaintiff was armed or dangerous or in possession of illegal

narcotics or contraband, Defendant VASQUEZ proceeded to search Plaintiff’s car.

    18. Defendant VASQUEZ searched Plaintiff’s vehicle including by going inside the backseat-

passenger compartment and looked inside bags that were closed and zipped.

    19. Defendant Sergeant MONTESDEOCA arrived on scene. Plaintiff complained to Defendant

MONTESDEOCA about the unlawful treatment he was being subjected to.

    20. Defendant MONTESDEOCA disregarded Plaintiff’s complaints and allowed Defendants

VASQUEZ and HERRERA to continue their unlawful seizure of Plaintiff and search of his vehicle.

    21. Defendants VASQUEZ and HERRERA never saw Plaintiff reach into any bags, into his

backseat, or under any seat when they approached his vehicle.

    22. After failing to find anything incriminating, the Defendant officers let Plaintiff go and did

not issue Plaintiff any citations.

                                             COUNT I
                          (42 U.S.C. § 1983 – Unlawful Seizure – Traffic Stop)
                               Against Defendants Vasquez and Herrera

    23. Each of the foregoing paragraphs is incorporated as if fully restated herein.

    24. As described in the above paragraphs, Defendants HERRERA and VASQUEZ unlawfully

stopped Plaintiff’s vehicle, thus violating his rights under the Fourth Amendment of the United

States Constitution and 42 U.S.C. Section 1983.

    25. Said actions of Defendants HERRERA and VASQUEZ were intentional and committed

with reckless disregard for Plaintiff’s rights.



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    26. As a direct and proximate consequence of Defendants HERRERA and VASQUEZ’S

conduct, Plaintiff suffered damages which will be proven at trial.

    WHEREFORE, Plaintiff demands judgment against Defendants for compensatory damages,

punitive damages, attorneys’ fees, costs, and such other relief that this Court deems equitable and

just.

                                             COUNT II
                            (42 U.S.C. § 1983 – Unlawful Seizure/Detention)
                               Against Defendants Vasquez and Herrera

    27. Each of the foregoing paragraphs is incorporated as if fully restated herein.

    28. As described in the above paragraphs, Defendants HERRERA and VASQUEZ unlawfully

seized and detained Plaintiff when they removed him from his vehicle and handcuffed him, thus

violating his rights under the Fourth Amendment of the United States Constitution and 42 U.S.C.

Section 1983.

    29. Said actions of Defendants HERRERA and VASQUEZ were intentional and committed

with reckless disregard for Plaintiff’s rights.

    30. As a direct and proximate consequence of Defendants HERRERA and VASQUEZ’S

conduct, Plaintiff suffered damages which will be proven at trial.

    WHEREFORE, Plaintiff demands judgment against Defendants for compensatory damages,

punitive damages, attorneys’ fees, costs, and such other relief that this Court deems equitable and

just.

                                             COUNT III
                                 (42 U.S.C. § 1983 – Unlawful Search)
                                     Against Defendant Vasquez

    31. Each of the foregoing paragraphs is incorporated as if fully restated herein.




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    32. As described in the above paragraphs, Defendant VASQUEZ unlawfully searched Plaintiff’s

vehicle, thus violating his rights under the Fourth Amendment of the United States Constitution and

42 U.S.C. Section 1983.

    33. Said actions of Defendant VASQUEZ were intentional and committed with reckless

disregard for Plaintiff’s rights.

    34. As a direct and proximate consequence of Defendant VASQUEZ’S conduct, Plaintiff

suffered damages which will be proven at trial.

    WHEREFORE, Plaintiff demands judgment against Defendants for compensatory damages,

punitive damages, attorneys’ fees, costs, and such other relief that this Court deems equitable and

just.

                                                   COUNT IV
                                    (42 U.S.C. § 1983 –Supervisory Liability)
                                        Against Defendant Montesdeoca

    35. Each of the foregoing paragraphs is incorporated as if fully restated herein.

    36. Defendant MONTESDEOCA was the direct and immediate supervisor of Defendant

Officers HERRERA and VASQUEZ.

    37. Defendant MONTESDEOCA knew about the unlawful conduct stated throughout this

complaint committed by Defendant Officers HERRERA and VASQUEZ.

    38. Defendant MONTESDEOCA facilitated, approved, and condoned the unlawful conduct

committed by Defendant Officers HERRERA and VASQUEZ.

    39. Defendant MONTESDEOCA did nothing to stop the unlawful conduct committed by

Defendant Officers VASQUEZ and HERRERA.

    40. As a direct and proximate consequence of Defendant MONTESDEOCA’S conduct,

Plaintiff suffered damages, including emotional distress, pain and suffering and monetary expense.




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    WHEREFORE, Plaintiff demands judgment against Defendants for compensatory damages,

punitive damages, attorneys’ fees, costs, and such other relief that this court deems equitable and

just.

                                             COUNT V
                 (Illinois State Law – Intentional Infliction of Emotional Distress)
            Against Defendants Herrera, Vasquez, Montesdeoca, and the City of Chicago

    41. Each of the foregoing paragraphs is incorporated as if fully restated herein.

    42. As described more fully above, the conduct of Defendants HERRERA, VASQUEZ,

MONTESDEOCA, and the CITY OF CHICAGO, through its agents and employees, was extreme

and outrageous in numerous ways, as stated more fully in and throughout this Complaint.

    43. Defendants HERRERA, VASQUEZ, MONTESDEOCA, and the CITY OF CHICAGO,

through its employees and agents, intended to inflict severe emotional distress on Plaintiff.

    44. Defendants HERRERA, VASQUEZ, MONTESDEOCA, and the CITY OF CHICAGO,

through its employees and agents, knew that their misconduct had a high probability of inflicting

severe emotional distress on Plaintiff.

    45. Defendants HERRERA, VASQUEZ, MONTESDEOCA, and the CITY OF CHICAGO,

through its employees and agents, misconduct caused Plaintiff to experience severe emotional

distress.

    WHEREFORE, Plaintiff demands judgment against Defendants for compensatory damages,

punitive damages, attorneys’ fees, costs, and such other relief that this Court deems equitable and

just.

                                             COUNT VI
                                          (Indemnification)
                                      Against the City of Chicago

    46. Each of the foregoing paragraphs is incorporated as if fully restated herein.




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    47. At all relevant times, Defendant CITY OF CHICAGO was the employer of Defendants

HERRERA, VASQUEZ, and MONTESDEOCA.

    48. In Illinois, public entities are directed to pay for any tort judgment for compensatory

damages for which employees are liable within the course and scope of their employment activities.

    49. Defendants HERRERA, VASQUEZ, and MONTESDEOCA committed the alleged acts

under the color of law and in the course and scope of their employment with the CITY OF

CHICAGO.

    50. As a proximate cause of Defendant HERRERA, VASQUEZ, and MONTESDEOCA’S

unlawful acts, which occurred within the course and scope of their employment activities, Plaintiff

suffered damages.

    WHEREFORE, should Defendants HERRERA, VASQUEZ, MONTESDEOCA be found

liable, Plaintiff demands judgment against Defendants for compensatory damages, punitive damages,

attorneys’ fees, costs, and such other relief that this Court deems equitable and just.

PLAINTIFF DEMANDS TRIAL BY JURY.

DATED: July 7, 2021                                             Respectfully Submitted,

                                                                Demetric Rule, Plaintiff

                                                        By:     /s/ Julian Johnson
                                                                Attorney for Plaintiff
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